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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW HAMPSHIRE


Olivia Karpinski and Paul Edalat
       Plaintiff,
                                                 CIVIL ACTION NO: 1:18-cv-01214-PB
         v.

Union Leader Corporation, Patricia J.
Grossmith, and Trent E. Spiner
      Defendants.


                                     NOTICE OF WITHDRAWAL

         TO THE CLERK OF THE ABOVE-CAPTIONED COURT:

         Pursuant to Local Rule 83.6(d), please withdraw the appearance of Joshua M. Wyatt as

counsel for the Plaintiffs in this matter. Attorney Matthew R. Johnson of the same law firm,

Devine, Millimet & Branch, P.A., will continue to represent this party.

                                              Respectfully submitted,


Dated: May 31, 2019                           By:      /s/ Joshua M. Wyatt, Esq.
                                                    Joshua M. Wyatt, Esq. (NH Bar #18603)
                                                    111 Amherst Street
                                                    Manchester, NH 03101
                                                    Phone: (603) 695-8517
                                                    Email: jwyatt@devinemillimet.com


                                    CERTIFICATE OF SERVICE

        I hereby certify that this Notice of Withdrawal will be sent to counsel of record this day
via the Court’s Electronic Case Filing system.



Dated: May 31, 2019                               /s/ Joshua M. Wyatt, Esq.
                                              Joshua M. Wyatt, Esq.

028818-111318; 4825-8727-4136
